Case 3:16-md-02738-MAS-RLS Document 32484 Filed 05/31/24 Page 1 of 5 PagelD: 184734

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May 31, 2024

VIA ECF

Honorable Rukhsanah L. Singh, U.S.M.J.
United States District Court

Clarkson S. Fisher Building & US Courthouse
402 East State Street

Trenton, NJ 08608

Re: In RE: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices,
and Products Liability Litigation (MDL No. 2738)

Dear Judge Singh:

I am counsel to Defendants Johnson & Johnson (“J&J”) and LLT Management LLC
(“LLT”) (collectively, the “J&J Defendants”) and write in response to Beasley Allen’s May 22,
2024 Letter (ECF 32251) and in follow up to Ms. Brown’s May 17, 2024 Letter (ECF 32200). The
J&J Defendants feel compelled to respond to and correct Beasley Allen’s baseless accusation that
a member of their defense team, Jim Murdica, violated his ethical duties. As the record amply
reflects, he did no such thing. Such spurious accusations are nothing more than a thinly-veiled
attempt at distraction after Beasley Allen’s own ethical lapses were exposed by its client — without
prompting or solicitation from the J&J Defendants. Such bald-faced tactics should not be
countenanced.

The communications at issue all occurred by email and therefore are fully documented in
writing.' The emails objectively contradict Beasley Allen’s allegations. Beasley Allen’s client,
who on her own initiative reached out to Mr. Murdica on more than one occasion, stated
unequivocally that her attorneys told her J&J is unwilling to settle her case. Specifically, she was
told by Beasley Allen that:

“Johnson & Johnson is not willing to settle your case at this time, despite the
information and records we have. Settlement requires agreement of all of the

' To be clear, neither the J&J Defendants nor any of their counsel (including Mr. Murdica) had any verbal
communications with Beasley Allen’s client.
Case 3:16-md-02738-MAS-RLS Document 32484 Filed 05/31/24 Page 2 of 5 PagelD: 184735

parties. We continue to pursue settlement with Johnson & Johnson. However, to
date, J&J has been unwilling to settle.”

May 17, 2024 Letter Ex. C at 3 (ECF 32200-4) (emphasis added). Yet, in reality and as this Court
knows well from other hearings in this matter, the J&J Defendants have made numerous settlement
offers to Beasley Allen, which Beasley Allen had an ethical obligation to communicate to this
woman and all of their clients. Thus, the only ethical lapses demonstrated by the emails were
committed by Beasley Allen, not Mr. Murdica.

As with the firm’s unethical conduct that is the subject of the J&J Defendants’ pending
motion to disqualify Beasley Allen from continuing to serve on the PSC (Dkt No. 28760), Beasley
Allen’s failure to accurately convey settlement offers to its clients is designed to thwart the J&J
Defendants’ efforts to allow claimants to vote on, and decide for themselves, whether the offers
are in their best interests. Indeed, Beasley Allen now is vigorously attempting to block the vote
on the J&J Defendants’ pending solicitation for an equitable, comprehensive and final resolution
of all claims pending before this Court. The J&J Defendants sought discovery to determine the
extent of Beasley Allen’s disinformation campaign, and the extent it is impairing all claimants’,
let alone their own clients’, rights.

I. The Emails Disprove Beasley Allen’s Claims.
A. Mr. Murdica’s communications were proper.

The documentary evidence objectively and conclusively demonstrates that Mr. Murdica’s
communications were proper and fully consistent with his ethical obligations.

An unknown individual reached out by email to counsel from Beasley Allen, the J&J
Defendants’ outside counsel (Mr. Murdica), LLT’s in-house counsel, and a reporter from Reuters.
May 17, 2024 Letter Ex. A at 1 (ECF 32200-2). Her email specifically requested that Mr. Murdica
inform her regarding the “date they plan to issue paperwork for the 3rd bankruptcy.” /d.

Counsel from Beasley Allen responded to the email: “Please disregard the below attorney-
client communication.” /d. This cryptic response was, at the very least, confusing because it was
a near certainty that the Reuters reporter was not and had never been a Beasley Allen client yet
was included in the communication. Clearly, no attorney-client privilege applies to a
communication if the reporter was, as Mr. Murdica believed, a third party. Further, the unknown
individual had copied not one but two opposing counsel on the very same email. Finally, as the
emails demonstrate, Mr. Murdica was under the impression that the sender of the email was part
of Beasley Allen’s media efforts; a simple Google search verifies his assertion that she is a “self-
proclaimed influencer.” May 17, 2024 Letter Ex. C at 3 (ECF 32200-4).

In order to sort through the issue, Mr. Murdica added all the original recipients back to the
email and responded in just three sentences. Jd. First, he noted that Beasley Allen seemed to be
implying a relationship with Reuters. Jd. Second, he asked that Beasley Allen explain the nature

* Beasley Allen issued a press release opposing the solicitation immediately after it was announced. See
Exhibit A. And, at every opportunity, Beasley Allen is actively lobbying against the solicitation to the
mass tort plaintiffs’ bar. See, e.g., Exhibit B.
Case 3:16-md-02738-MAS-RLS Document 32484 Filed 05/31/24 Page 3 of 5 PagelD: 184736

of the relationship with Reuters that gave rise to its privilege assertion. Id. Third, he asked that
both the individual who sent the email and Reuters each confirm that they are clients of Beasley
Allen. Jd. Thus, the only sentence directed at the individual was a request that she confirm she is
Beasley’ Allen’s client.

Mr. Murdica’s email is an entirely reasonable and proper response given the confusing
circumstances and Beasley Allen’s entirely opaque email seemingly calling Reuters a firm client.
Had Beasley Allen wanted to ensure no communications with their client whatsoever, they could
have explained the situation with more than a 7-word email.

Mr. Murdica acted fully within the scope of his ethical obligations.
B. Defendants did not make false claims.

The remainder of Beasley Allen’s letter amounts to a cacophony of complaints that find no
support in, and indeed are contradicted by, the emails themselves.

1. Beasley Allen does not keep its clients informed of settlements. Beasley Allen
states that it has “regularly communicated” with its clients and complains that the J&J Defendants’
assertions otherwise are based on only “five sentences.” May 22, 2024 Letter at 8. No more
sentences are needed because Beasley Allen’s client relayed the message that her attorneys told
her “Johnson & Johnson is not willing to settle your case at this time” and that “J&J has been
unwilling to settle.” May 17, 2024 Letter Ex. C at 3 (ECF 32200-4). Plainly, Beasley Allen is not
communicating the settlement offers it receives to its clients.

Ze Beasley Allen is not providing accurate information regarding the bankruptcy
Plan. The Plan of Reorganization announced by the J&J Defendants on May 1, 2024 would pay
ovarian claimants approximately $6.475 billion. The Plan would include the very individual who
reached out to Mr. Murdica frustrated by the misperception that “J&J” has “refused” to settle any
claims. She wrote: “Please make an offer so I can get on with my life.” May 17, 2024 Letter Ex.
D at 1 (ECF 32200-5). One can only conclude that she was not informed of the Plan and/or that it
would resolve her claim.

a. Beasley Allen violated the solicitation provisions of the Bankruptcy Code.
Beasley Allen cites 11 U.S.C. §§ 1125(b) and 1125(g) regarding when solicitation of a plan may
occur at all. But it completely ignores § 1125(e)’s mandate that any solicitations that occur must
be in good faith. And Beasley Allen equally ignores the caselaw explaining that “[s]olicitation of
rejections of a plan of reorganization through the use of misleading or counterfactual materials . . .
does not constitute good faith solicitation within the meaning of Code § 1 125(e).” In re Mirant
Corp., 334 B.R. 787, 793 (Bankr. N.D. Tex. 2005).

What’s more, Beasley Allen’s contention that the J&J Defendants are trying to “stuff the
ballot box” with non-ovarian cancer cases is counterfactual. First, counsel representing tens of
thousands of ovarian cancer claimants endorse the Plan and support the values attributed to those
claims. Second, based on the claimant sampling work done to date, gynecological cancer claims
of various sorts, such as the claim asserted by the client who emailed Mr. Murdica, make up a
substantial portion of the complaints filed in this very MDL. The J&J Defendants did not choose
Case 3:16-md-02738-MAS-RLS Document 32484 Filed 05/31/24 Page 4 of 5 PagelD: 184737

the claims that were filed against it; plaintiff lawyers did. To obtain the desired comprehensive
resolution of the claims asserted in this matter, and like claims that may be asserted in the future,
the J&J Defendants necessarily must solicit all such claims.

In other words, the simple and indisputable facts are these: This MDL is comprised of both
ovarian and non-ovarian cancer claims, Beasley Allen has never complained about the composition
of the MDL, and Beasley Allen has never asked this Court to dismiss one or more category of
claims as non-meritorious and unworthy of compensation.

4, Defendants accurately described Beasley Allen’s incentives. There is no dispute
that Beasley Allen stands to collect up to 12% of the recovery any firm earns (on top of their cut
of any amount recovered for their own clients) if the talc litigation resolves in the MDL. Beasley
Allen’s only response to this fact is to speculate that a bankruptcy court might award something
akin to a common benefit fund in some amount. May 22, 2024 Letter at 8. That speculation is
belied by the terms of the solicitation offer announced on May 1, 2024. And Beasley Allen’s
musings that it may be able to persuade the J&J Defendants to adopt another plan, in addition to

being utterly baseless, do not negate the financial incentives they are guaranteed by a resolution
through the MDL.

3. Misleading citations to an irrelevant document. As a further distraction, Beasley
Allen makes the same misleading claims about internal documents that juries have consistently
rejected in each of the numerous trials that Beasley Allen has lost. Beasley Allen gratuitously cites
a 1997 letter to suggest a consultant believed that talc causes ovarian cancer. May 22, 2024 Letter
at 14. But in fact that individual said that “the results of the studies were ambiguous, inconsistent,
contradictory and therefore inconclusive,” that “hygienic use of cosmetic talc does not present a
risk to the consumer” and that those were “powerful and irrefutable arguments.” May 22, 2024
Letter Ex. 4 at 2 (ECF 32251-4) (emphasis added).

II. Let the Claimants Vote

It is the conclusion of Beasley Allen’s letter that lays bare its true objective in tossing
around baseless accusations against Mr. Murdica, the very same objective that the J&J Defendants
warned of in their May 17 letter: To foment headline grabbing, ad hominem attacks, in the hopes
of ultimately disrupting the vote on the Plan. Beasley Allen ends its letter by claiming that the
“real issue” is “J&J’s efforts to stuff the bankruptcy ballot box” while in the same breath declaring
“this Court is [the] proper forum” to adjudicate such unfounded contentions.

Sadly, derailing the vote seems to have become the singular focus of Beasley Allen’s day
in, day out work in this MDL. Since Ms. Brown’s letter was filed on May 17, Beasley Allen has
filed a litany of materials that appear principally designed to leak to the press and galvanize other
counsel to join its effort to dissuade women from voting in favor of the Plan. Chief amongst these
is a complaint styled Love, et al vy LLT Management LLC, et al, Case 3:24-cv-06320-MAS-RLS,
a putative class action assigned to this Court, tagged to the MDL and purporting to seek
compensatory and putative damages for an alleged fraudulent transfer, among other claims. As
with the allegations against Mr. Murdica, the class action claims are utterly meritless. True to
form, immediately after filing the Love action Beasley Allen pushed out its usual propaganda,
heralding the complaint with inflammatory language and urging other lawyers to “resist any
Case 3:16-md-02738-MAS-RLS Document 32484 Filed 05/31/24 Page 5 of 5 PagelD: 184738

settlement proposal by J&J.” See Exhibit B. It then followed the Love filing with multiple and
duplicative efforts to quash a series of subpoenas directed to both the firm and certain third-party
funders which threaten to further unveil Beasley Allen’s true motivations in waging its anti-vote
campaign.

The J&J Defendants will address each of these filings in due course, including through
Rule 11 practice, a motion to dismiss and fulsome opposition briefing. For now, it is high time for
the lawyers to step aside and let these women speak for themselves. J&J has offered one of the
largest resolutions in the history of mass tort litigation. The record of this litigation, both in terms
of pace of trials (it would take decades to try just the filed cases) and the J&J Defendants’ success
rate (95%), speaks for itself, and it speaks loudly. The J&J Defendants have every confidence that
the claimants, including Beasley Allen’s clients, are fully capable of reviewing the Plan, assessing
the course of this litigation to date and considering their available alternatives. It is time for their
own lawyers to show the same confidence in their clients’ ability to determine their own best
interests.

Let the women vote.

Respectfully,

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isten R. Fournier

Ce: All Counsel (via ECF).
